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                                                      #:1

             A
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             3       Anaheim Hills. California 92807
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             5
                     Attornev for Plaintiff
             6
             o       JOANN MADRID ALVAREZ
             7

             B                            TJNITED STATES DISTRICT COT]RT
             q
                                         CENTRAL DISTRICT OF CALIFORNIA
            10
                                                     EASTERI\ DIVISION
            11

                     JOANN MADRID ALVARE Z. Ph.D.                 Case No.:
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OE
                                        Plaintiff,
oE
lJEe *14                   VS.                                    PLAINTIFF PROFESSOR
o= I                                                              DR. JOANN MADRID ALVAREZ'S
<= Fi
B5' 815              CHAFFEY COMMLINITY COLLEGE                   COMPLAINT FOR DAMAGES
JC
(9q b
                     DISTRICT, JASON CHEVAIIER.                   AND EQUITABLE RELIEF'
5&                   SUSAN HARDIE, LAURA HOPE;
;P =16
ul
                     LI$A PAILEY, and DOES I through 10,
                     Inclusive.                                   DEMAND FOR JT]RY TRIAL
<) (.t)
          = ll
r E? e                                  Defendants.
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lba€ 1q
            20             Plaintiff, PROFESSOR JOANN MADRID ALVARE Z,Ph.D.("Plaintiffl' or
            21
                     "Dr. Alvaraz"), hereby complains against Defendants CHAFFEY COMMUNITY
            22

            23
                     COLLEGE DI STRICT ("District"), JAS ON CFIEVALIER (" Chevalier"), SUSAN

            24       HARDIE ("Hardie"), LISA BAILEY ("Bailey"), LAURA HOPE ("Hope"), and
            25
                     DEFENDANTS, lttAough 10, (collectively "Defendants"). Although the Individual
            26

            27
                     Defendants, Chevalier, Hardie, Hope, and Bailey, are in management/the

            28       administration, these state actors worked outside of their duties for unlawful reasons



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                1
                     and for thpir own personal gain
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                                                       NATURE OF CASE
                3

                4       1. This is a civil action seeking damages and equitable relief against these
                5    Defendants for committing contiiruing unlawful acts against Plaintiff and for
                6
                     depriving Plaintiff of her rights, inter alia, secured by the Civil Rights Act of 1866,
                7

                B
                     42 U.S.C. $ 1981 for discrimination based on Plaintiff s perceived race, color,

                I    national and/or by the Defendants; and by the Rehabilitation Act of 1973, as
              10
                     amended (29 U.S.C. $ 701 et seq.) for retaliation.
              11

                        2. Dr. Alvarezwas repeatedly and continuously humiliated, embarrassed,
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OE                   bullied, stalked, and degraded with the loss of her self-esteem associated with the
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PE. *14
?1 R racially motivated treatment she received and the public policy for which she
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   815
  E E,^                                                                interfered with
*< Elo complained. The harassment and the bullying by these Defendants
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uJ 6      9t-
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                     Dr. Alvarez's courses that were taught regularly as scheduled and specifically took
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3HE€IA
1bA€                  awayPlaintiff s job responsibilities and assignments related to her administrative
              19

              20     duties.

              21
                        3.     These duties and responsibilities related to Dr. Alvarez's duties and
              22
                     responsibilities as a professor and administrator, for which she was extremely
              23

              24     proud. These Defendants, District, Chevalier, Hope, Hardie, and Bailey, engaged in

              25
                     the collusion between themselves which included their deceitful plans to use the
              26
                     cover of their administrative duties to take away Alvarez's terms, conditions, and
                27

                28   privileges of employment. The Supreme Court of the United States has held that



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                 "this not only covers 'terms and conditions' in the nalTow sense, but also "evinces a
            2
                 .ongr.rrional intent to strike at the entire spectrum of disparate treatment . . . in
            3

            4    employment." Oncale v. Sundowner Offshore Servs., lnc.,523 U.S. 75,78 (1998)

                 (quoting Meritor Savings Bank,'FSB v. Vinson,477 U.S. 57,64 (1986)), Cf' Ray v.
            F
            J



            o
                 Henderson, 217 F.3d 1234 (9ft Cir. 2000) which held that for purposes of a
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            I    retaliation claim, "an action is cognizable as an adverse employment action if it is

            I    reasonably likely to deter employees from engaging in protected activity.) Other
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                 professors and instructors, who were able to know what had been happening to Dr.
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                 Alvarez,made it clear they did not want their names associated with the retaliatory
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O-o              conduct.
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q5 *A 14            4. Believing she had the right to do so like all other professors and instructors,
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   E,u
      E,^        Dr. Alvarez complained about the intentional disparate treatment by the Defendants,
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                 unlike the other professors and part-time instructors not in her classification.
gHE€18
1b6€             Chevalier, Hardie, Hope, and Bailey participated together in removing Dr. Alvarez
            19

            20   from her scheduled courses and administrafive duties. She waS not able to select her

                 schedule like all other professors and instructors who were not in her protected
            21


            22
                 classifications. There were those who had less experience, less education, and less
            23

            24   number of years, i.e., over 27 yearsat District. Even part-time instructors taught the

            25
                 courses she previously had. The suspension from her administrative duties by
            26
                 Chevalier, Hardie, Hope, and Bailey was without reasonable notice, explanation,
            27

            28   and without fully compensating her for the work she had performed.




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                                          I



                                                                                                             complained
                                                                           the frst time afer she verbally
                         ll          5. Dr.,Ar varezwas suspended for
                                                                           leveled against her by her immediate
                    '    ll uoorr, the racial/ethnic discrimination
                    3 ll
                         ll                     ^                had filprt formal
                                                     1- ^-^^-^L^ r^^,{ filed        comolaints and grievances'
                                                                             fnrmal complaints
                                     uhevalier, for whom-she
                    4 ll supervtsor,
                                                                                      and Hardie did not
                    u     ll or. Awarezquestioned Hardie u, to *hy Hope, Bailey'

                    u
                                                  atalafter Dr. Alvarez's             complaints of discrimination'
                          ll ,nu.*igate chevalier
                                                                                      chevarier, incredulousry, falsely
                        I ll   **r,*ion, and harassment against chevalier.
                                                                                                                          that
                                                                                       written complaints against him'
                        n ll .ruin",. d, afterDr. Alvarez,s verbal and formal
                    ,o                                         her duties and          responsib'ities. This pretextual
                              ll or. Arvarezwas not performing
                    11
                              ll                                    rr^..ri^ rrnno and            excuse "to investigate"
                                                                                       Railev the ex<
                                                                                   ond Bailey
                        12 l[ complaint
                                        from Chevalier gave Hardie' Hope'
z
UJ
                                                                                                      leading to her
T
OE
                        ,, Il or. Alvarez for the purpose of creating a hostile environment
11 Gt
fr.8.           ,- 14 ll                                     .1 r\-- a1-,nnoqr',oc              medical leave, pursuant to
                                                                                   nlac.ed on a medi'
                                                                             was placed
oF
<;              R'tu ll termination' Subsequently'              Dr' Alvarez
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OO              E    ll                                                    Ac'f ("FMLA")' the District's FMLA
                                                   :r-- .r r^ri^-l r aqrre Act
(9E                                    federal Family Medical Leave
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                      ll the structure of
                                                                                                           leave because of
v(6             I              ll                                                                        1 1^^--^ l-onarrco
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<nz(s                                                                                doctor's medical
LLI
 C, U)          E,,t ll             policy which mirrors the federal policy, and her
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         c.'l
         e18                                                                                      for years'            Dr'
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             il
                                                   of unlawful   acts which have been continuing
 1b,t E                    ll tr", health.
                         1eil
                                           Because
                                                                                  and physically.
                               o*.rez   has become severery ill, both emotionaily
                            ll
                         ^
                         21


                         ,                                                        pursuant    to 28 u's'c' s$ 451' 1331'
                                    ll   6. Jurisdiction of this court is invoked
                                                                                               instituted pursuant to 20 u's'c'
                                                       This action is autho r\zedand
                          ;1 ll , 337, 1343, andr 391.
                                    ll                                  t t,^tt^A e+^+oc D           to ex.ercise jurisdiction'
                          ,u ll ,rou requiring tli" uppropriate United States District Court
                          26 ll                              ., n. ,-a- ,r ^+ ^r r ool qq am€flded. states that employment
                                    ll+zu.s.c.$1981,CivilRig}rtsActof:rgg1'asamended,statesl
                              27
                                    ll                                 --^-, L^ nl-.r in
                                                                 cases may be filed in the
                                                          retaliation
                                                                                                    States District Court'
                                                                                           I Tnited S
                                                                                           United
                              zg ll discrimination and



                                                                                J                      ALVAREZ, Ph'D.
                                                        coMPLAINT FoR PLAINTIFF
                                                   FEDE-RAL
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               1
                    This Courthas pendent jurisdiction over Plaintiff s state claims, both administrative
               2
                    and common law, because they arise out of the same nucleus of common facts on
               3

               4    which plaintiff s federal discrimination claims are based. Pursuant to 28 U.S.C.

                    $ 1367(s), federal courts have the discretion to adjudicate state-law claims that
               5                                                                                        are

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               o
                    transactionally related to the federal claims.
               7

               B
                       7. Plaintiff has suffered and continues to suffer actual injuries as a result of the
               q
                    intentional, racist, malicious, and unlawful conduct on the part of the above-named
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                    Defendants. The injuries can be traced to the challenged action and conduct in this
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                    matter. This action further includes the federal Section 504 of the Rehabilitation Act
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O€                  of 1973, as amended. District is the recipient of federal funds. Intimidation and
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<=       F(         retaliation are prohibited because Plaintiff sought his rights under section 504. This
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*<       Elo        Court also has pendent jurisdiction over Plaintiff s state claims, both administrative
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aL.to-   =ll        and common law, because they arise out of the same nucleus of common facts on
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9HE€IA
1b6€                which Plaintiff s federal discrimination claims are based. Plaintiff
               19

               20   has a personal stake in the outcome of this action and hereby joins her request for

               21
                    recovery pursuant to 42U.S.C. $ 1931, the California Fair Employment and
               22
                    Housing Act ("FEHA") and has received her Department of Fair Employment and
               23

               24   Housing's, also knowrt as the California Civil Rights Department's ("CRD") right-
               25                                                    *A (0812312023 CRD right-to-su€),"
                    to-sue notices, whic[ are attached as Exhibits
               26
                    ,,B (CRD 09103123 right-to-sue), " and "C (CRD lll27l23 right-to-sue)," along with
               27

               28   the complaints filed with the CRD. Additionally, and importantly, Plaintiff also



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            I   sought help and assistance from the "D (0411212023 Letter to California Community
            2
                Colleges/Chancellor's Office)", "E (0412212023 Letter to United States Department
            3

            4   of Labor)," 'oF (05112123 Letter from the United States Department of Labor)," and

            5   the "G (06ll5l23letter from California Chancellor's Office for Community
            6
            o
                Colleges).
            7

            U      8. Plaintiff is employed within the jurisdiction of the United States District
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                Court in and for the Central District of Califomia.
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                   9. District, a public entity, is doing business within the jurisdiction of the
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                United State s Di strict Court/Central Di strict.
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<*. Fi                    OVERVIEW OF THE RELEVANT AND BACKGROTINID FACTS
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5k                 10.Dr. Alvarez's multiple illnesses, financial losses, and the effects on her family
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c)(n =lt
lL aa           have been more than devasting to her. The symptoms she experienced began around
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=               late October 2022. She had always denied having the debilitating headaches as she
           19

           20   does now before. The severe pain worsened around Novembe r 2022 going into

           21
                2023 and now 2024. This situation coincided with her filing of the grievance
           22
                against Chevalier, a grievance she had never had to file before. More importantly, it
           23

           24   is the series of the contihuing wrong, unlawful conduct that has made her sick.

           25
                   1 1.   Dr. Alvarezclgrified that the grievance was not solely about the remote
           26
                teaching work she had done but because Chevalier started to take away her teaching
           27

           28   duties, which was not in compliance with the Union contract between District and




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                1l the Chaffey. Colle ge F aculty Association' s Contract'
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                2l
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                       12.Inthe spring 2023,Dr. Alvarez was expected and prepared to teach two
                3l
                                                                            two classes. Hope, Hardie,
                4l classes. but Chevalier denied her the right to teach the
                     I




                     I


                5l and Bailey joined in with Chevaliei even though, without cause, he denied Dr.
                     I




                ^l
                ol
                         Alvarezher right to teach the two classes. She knew the other professors on campus
                 t

                8        could teach the courses they preferred but not Dr. Alvarez. Hope, Hardy, and Bailey

                I        were doing all they could to engage in the pretextual investigation of Chevalier.
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                         However, nothing was done about Dr. Alvarez's complaint. There was no
                11


                12       investigation resulting from her complaint. Next, her administrative duties were
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                         taken away. These duties consisted of her required presence on campus, which she
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                         had never failed to do even though Chevalier accused her of failing to
                                                                                                  have face-to-
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(,E g-                   face courses and not appearing for office hours. The duties included reporting to
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                         District the students' writing, evaluating data, identiffing the strengths and
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1bd5                     weaknesses of each student, etc.
                19

                20           13. Dr. Alvarezhad never filed under thqFamily Medical Leave Act or the
                21
                         California Family Leave Act ("CFLA") before. Dr. Alvarezhas been a full-time
                22
                         faculty member since 2005. She had never filed for workers' compensation before,
                23

                         except for now, and did,not understand any of these processes. No one'
                                                                                                     not Hope,
                24

                                                                                                          to her
                         not Hardie, not Bailey, not Chevalier, not District explained the differences
                25

                26
                                                                                                          Human
                         despite her multiple requests that someone with the responsibility in either
                27

                28       Resources or Administrative Services do so.



                                                                                                  Ph.D.
                                      TEOCNIT COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ'
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                     14. IqOctober 2022, she had not taken any of the medication she now finds
              2
                  herself on continuing into 2024. In fact, it was not until the substantial increase of
              3

              4   her headaches in November 2022, after Chevalier denied Dr. Alvarezthe right to

              5   teach remote courses like all othdr instructors, even including adjunct instructors,
              6
                  that she decided she could not take it any longer. The repeated and continual denial
              7

              8   of Dr. Alvarez's employment privileges, benefits, and rights of her employment
              q
                  were taking their toll on her health. The contractual grievances against Chevalier
            10
                  were not limited to remote teaching but also included her teaching on split schedules
            11

                  and late courses in the semester which would have made it extremely difficult for
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O<r               her to complete her work. Even though she was on a medical leave, the schedule
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HE
oc   *o 14
<g      R         case her great anxiety because she realized to what she would have to return.
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dg
   E15
A< E,^EIO            15. District, Chevalier, Hardie, Hope, and Bailey either directly or indirectly
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        =ll       denied the grievance. Dr. Alvarez eventually was told a reason for the
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3HE€Ig
tha€ 19           denial of her requests regarding her courses: Her courses did not meet the needs of

            20    District. That was all. By this time, Alvarezhad been teaching at District for over 17
            21
                  years. Following her filing of the grievance; there was noinvestigation as with all
            22
                  other faculty who filed contractual grievances.
            23

            24       16. From the academic years of 2007 to 2018, she was scrut inizedunlike any
            25
                  Other faculty members and was given unfair evaluations. According to Dr. Alvatez,
            26
                  there was a cumulative impact of the continuing unlawful conduct levelled against
            27

            28    her. These incidents of discrimination, harassment, and retaliation throughout the



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                      years took their toll on Dr. Alvarcz.
                2
                         17. In20O6-2007,Dr. Alvarezhad violent physical and credible threats from a
                3

                      student, William Wang, who wanted to murder her. He was also the student
                                                                                                                   body
                4


                      president at the time. Despite this ihreat, District failed to provide her with the
                A


                o
                      appropriate protection. Instead, District's Campus Police failed to document
                                                                                                                   Dr.
                -7
                 t


                B
                      Alvarez's report and refused to take the statement of witnesses, like Dayna

                      Downing, who was also a student on her speech and debate team. The lack of
                q                                                                                                   a

                10
                                                                                                     and well-being
                      response from District made it perfectly clear Dr. Alvarez's safety
                11


                12    was not a priority.
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-OE             13
                          18. She was never told by District that there was a physical threat, but she
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                      should talk to this student who wanted to murder her. It was some time
                                                                                                            after the
C2O      .= 15
(,E E '16             physical threat, she was told to 'otalk to the student" alone and by herself. Naturally,
h<       E
;P
f.u 6     .J>

C)a                                                                                                   her life because
                      she was afraid to go to see the student who purportedly threatened
                17
L AO     =
LL (E-    -
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O tu crr 'iD    18
                                                                                                            Police who,
=39€
1bd€                   of a grade and should have been given protection at least from Campus
                19

                       on a regular basis, would escort other similarly situated instructors,
                                                                                                       not in Dr'
                20

                                                                                                                     those
                21
                       Alvarez,s classification, to their automobiles when there was no threat against
                22
                       instructors. District's own Campus Police actually refused to take Dr' Alvarez's
                23
                                                                                                                  and heard
                24     report of the threat, the report of an eyewitness who saw the angry student

                                                                                                           The student,
                       the threat, and to ma\e sure she was safe while on District's campus'l
                25

                26

                27                                                                                          on December
                       r Dr. Alvare zfiledthree incidents reports with the Chaffey College Campus Police
                                                                                               extremely afraid to be in
                 28    a5,2I22;February 06,2023;and February 22,2023. Dr. Alvarez was
                                                                                                  her third incident report,
                       hei personal office, so she was forced to work out of her car. concerning


                                                                                                          Ph.D.
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                 1
                     who threatened Dr. Alvarez's life, was not even expelled. This same student had
                2
                     even been engaged in reported academic dishonesty, but nothing was done. This
                3

                4    same student told two other students from Dr. Alvarez's debating team that he
                                                       ..-
                5    planned to have Dr. Alvarez"abducted and killed." Defendant District never
                ^
                o
                     disclosed this threatto her, but the students from the debate team did. She could
                7

                 8   have filed a grievance with the teachers' Union against District's management but
                 q
                     was too afraid to do so because she was a teachers' Union representative and
                10
                     witnessed that everyone who filed a grievance, both instructors and members of the
                11

                     CSEA for classified employees, were either fired or force (constructively) to quit
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f13                  because of the intolerable hostile work conditions and environment leveled against
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<g         R         them.
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   E15
     E,^                19. District then engaged in a cover-up after Dr. Alvarezreported the death
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c) @    ll
\L.no      =         threat to an outside police agency. She explained to the police agency that she was
Ll- (5r    -E
gHE€18
1b6€                 also targeted and harassed by District's administration. After reporting the threat,
                19

                20   she was and has been under severe and constant undue scrutiny up to today in2024.

                21
                     After reporting the death threat to the outside police agency,Dr. Alvarez was under
                22

                23

                     Officer Hunsaker went to Captain Francis, and after the captain received the information, he
                24
                     engaged in another cover up. The incident report comments found on the report were vague, short
                25   (approximately 2l words), and clearly inaccurate. On February 22,2023, she went to Captain
                     Francis' office with Officer Hunsaker for about 20 minutes, expressing her fear of management
                26   and what had been going on in her campus office on a regular basis. On March 29,2023,Dr.
                      Alvarezwrote to Captain Francis, asking him to include her actual personal statement for
                27
                     accuracy. Captain Francis never responded to Dr. Alvarez even to this day in 2024.
                28




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            1
                 high, severb scrutiny for years. Dr. Alvarez now finds herself constantly being
            2
                 subjected to threats, bullying, being followed even to the restroom, stalking, and
            3

            4    intimidation by District's adminislration and the Individual Defendants' As a result

                 of these threats to her, she forced from being a Union representative out of fear of
            F


            o
                 being harmed.
            7

            8       20.Inaddition, just as District appears to be planning for the termination of
            q
                 Dr. Alvarez's employment, the next act in retaljation was an unjustified "needs
            10
                 improvement" on her evaluation for the first time. A member of the evaluation
            11

                 committee, professor Kipp Preble, later admitted to Dr. Alvarez
                                                                                   just after he retired
iz          12


                 that he was instructed to give her a "poor rating/needs improvement" by the dean'
I           13
OE
oq
AE.    F- 14
?A,R             Additionally, after the death threat, she was humiliated by being made to actual
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Ed    .9 15
(9E E            repeat the second year of tenure and threatened she would have to pay back
                                                                                                  the
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                 salary she received or teach additional classes even though she had not been
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                 compensated for the administrative work she performed, for example, with
=39€                                                                                              the
tb6€
            19

            20   debate team.

            21
                     21. AfterDefendant Chevalier became Dr. Alvarez's new Dean, in2018-2019
            22
                  and10lg-2020,he began to pressure, harass, and intimidate her because he wanted
            23

                 her to give faculty members the "needs improvement" rating, who did not
                                                                                              deserve
            24

            25
                  that rating, and wantbd her to sign her name on the Performance Evaluations
                                                                                                    for
            26
                                                                                        and its
                  these faculty members. Indeed, Dr. Alvarezhadwitnessed District,
            27

            28    administrators, use this method in order to terminate instructors'



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                                                   #:12

             1
                     22. Dr. Alvarezhad been selected to participate in doing the Perfornance
             2
                  Evaluations of the faculty and felt very proud to be chosen for this position. The
             3

             4    first time, Chevalier asked her to-falsif, the evaluations, she refused, not for the

             5    purpose of being insubordi nate aidlor disobeying her dean's instructions/directives,
             6
             o

             1
                  but because she knew that it was wrong to put knowingly false information on a
              I

              I   legal California State document, like a Performance Evaluation for public
              q
                  employees. In the fall of 2018, Chevalier attempted to coerce her into providing a
             10
                  o'needs improvement" rating for Beverly Natividad, a part-time female
             11

                  communication study faculty member. Professor Alvarez did not give in to
i12
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O<r               Chevalier's threats. The next time, Dr. Alvarez feared it would be "very bad for
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<g      R         [her]."
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           tto       23. Subsequently, with the following evaluations, Chevalier angrily would close
;€
f.U (o     9t-
?2                the door and stand in front of the door so that Dr. Alvarez could not leave and tell
r.r- (E t- =tl
lL.tO      -E
3Hl€18
1b6€              her to give a "needs improvement" rating to another faculty member. He would
             19

             20   emphasize that Dr. Alvarez's evaluation should match his to make his evaluation

             21   ,,appear stronger." Although she previously first refused to comply with his

             22
                  directives, with the later evaluation she complied out of the fear of losing her
             23

             24   employment or anyt,hing else. Her subsequent obedience made no difference

             25
                  because Chevalier's,anger only worsened. Chevalier never came to the classes
                                                                                                         to
             26
                  observe these instructors himself. Chevalier now has a clear history of providing
             27

             28   unjustified "needs improvement" ratings for female members.



                                FeoeUl coMpLAtNT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
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            4
             I
                    24. |heharassment and intimidation worsened to a great degree after
            2
                 evaluations of other faculty by Dr. Alvarezwhich caused her a great deal of fear and
            3

            4    significant stress. Regarding Dr.-Alvarez's schedule and to further establish
            6
                 pretextual reasons for her terminition, Dean Chevalier initially approved her
            6
                 schedule but then demanded she make up for office hours he falsely accused Dr.
            7

            8    Alvarezof not keeping. She fought this increase in her assignment with the Union.
            o
            !
                 Eventually, Chevalier pretextually and deceitfully "agreed" with the lJnion that he
            10
                 purportedly just commiffed an inadvertent etror regarding her offrce hours. To
            11

                 continue this pretense, Chevalier tried to give the impression he supported Dr.
d12
z.
4
i13
OE               Alvareztoo. Later, however, Chevalier still forced Dr. Alvarezto complete the
oQ
PE. ,-14
?A R             extra office hours while, all along, he continued to give the specious impression
E.q ?'= 15
(, P E,^
A< 6lo           Chevalier continued to agree with the Union. In Dr. Alvbrez's own evaluations, she
;€
f.U (! 9r-
C)u)        ll
        =        came to the conclusion that she should not have raised the issue of Chevalier and
LL c/ro
!! C'- -E
9HE€IA
lbd€             evaluations. The other two colleagues who participated in her evaluations and
            19

            20   challenged Chevalier's input specifically requested the comments by Dr. AIvarcz

            21
                 not be associated with their names.
            22
                     25. lnOctober 2022, again, Chevalier denied that Dr. Alvarcztaught two of her
            23

            24   classes remotely which would have been against the Union contract. The fact is she

                 was remotely teachlpg two classes which complied with the Union contract. She
            25

            26
                 was still working 50Yo atDistrict doing the administrative part of her employment
            27

            28   and training. So, teaching remotely two classes complied with the Union contract as




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               1
                   it did withall other teachers. Other professors who were only teaching remotely and
             2
                   who were similarly situated like Dr. Alvarez were allowed not to have any classes
             3

             4     on campus. However, to comply with the Union contract which had been fully

             5     negotiated. Their evaluations never included "needs improvement" or any other
             d
             o
                   professionally negative evaluation.
             7

             B        26. This time, even though Dr. Alvarezwas very reluctant, afraid, and filled with

             I     fear, she filed a grievance on November 08, 2A22. Doing so made her severely
            10
                   stressed, depressed, and filled with feelings of dejection, despair, and hopelessness,
            11

                   because she feared she would be terminated and "pushed out." In December 2022,
i12
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O<r                she began seeing a psychiatrist Dr. Alex Aju, who referred her to a psychologist in
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He *14
?A R   his office, Michael Hays, and to a psychiatrist Yadira Hemndez, M.D. Dr. Alvarez
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   *ro continued with the treatments. She continued working. Then, onFebruary 27,
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       =_          2023, Rafael Rosalez, M.D., her general practitioner, put Dr. Alvarez on the federal
        E

3HE€IA
iba€ 19 Family Medical Leave Act for 6 months. It was then recommended, and she did
            20     apply for California's Workers' Compensation ("WC"). District denied Dr.

            21
                   Alvarez's WC in Julv 2023. Dr. Hernandez continued Dr. Alvarez's disabiliw
            22
                   under the FMLA until June 2024.
            23

            24        27. On December 74,2022, Dr. Alvarez was called to the Human Resources
            25
                   Office of Susan Hardip ("Hardie"), the Director, and Lisa Bailey ("Bailey"),
            26
                   was falsely accused Dr. Alvarez of not teaching a face-to-face component to the
            27

            28     whole class of students. Dr. Alvarez brought all documentation to prove what she



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                                                                                     she was teaching these
            1
                     said happerled did happen, i.e., the documents proved
            2
                     students regularly, face-to-face- in the classroom.
                                                                                  Further' at this December 14
            3
                                                                                            allegations that
            4        meeting, Defendant Hardie deniedDr . Alvatezmaking any

                                                                                         years'
            5        Defendant Chevalier had been harassing over a period of
            11
                                                                                                   continued in the
                          28. The harassment from Chevalier and the other Defendants
            7
                                                                                              the grievance' on
            B
                     form of District's steps to terminate Dr. Alvarez. Following

            I        February 16,2023,she received a message from Defendant chevalier
                                                                                                         and the other

            10
                                                                                                       against her also
                     Individual Defendants that District was launching an investigatiotf
            11
                                                                                              one week later' the
            12       about poor attendance. Then, on February 21,2023, almost
d
z
-Oo                                                                                            Dr. Alvarezto include
            13
                     Individual Defendants amended3 the false allegations against
oq
HE     F- 14
                                                                            and refusing to communicate with her
?F.'R                a lack of her having the requisite office hours
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        15


F<     E 16           students and the staff.
v(gO
SE     "i 17                                                                                           false, the
C)@
r ao    =                 29. Knowing the previous allegations against Dr. Alvarezwere
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OUJC\-d
            18
                                                                                              because they wanted to
                      Individual Defendants included additional false allegations
=*HC 19                                                                                      terminated' By this time'
            20        build a solid case against her so that ,h".*orrld, indeed, be

            21
                                                                                   tactic when District is going to
            22
                      z District has a reputation and is known to use a particurar
                                                                             or just force any employee whom
                      terminate, constructirely terminate, forced to retlre,
                                                                                  an investigation with the sole purpose of
                23    they want out and away from District. District launches
                                                                                        concludes the employee is at fault'
                      hiring a so-called third-party, biased investigator who always
                                                                            (the same ones) without any input on the
                24    It is District who ,"i""t, und puy, the investigators
                       selection from the employee. And so it is here for
                                                                            Dr' Alvarez'
                25

                      : Chevalier, Hardie, Bailey, and Hope continue to this day in 2024 to
                                                                                             work on and add to the list of
                                                                              be timely filing additional complaints with
                26
                      Farse alregations against Dr. Alvare z. Dr. Arvarezwill
                                                                        and the federal Equal Employment opportunity
                27    The california civil Rights Department (i.cRo")
                      Commission ("EEOC").
                28




                                                                       NTIFF JOANN MADRID ALVAREZ' Ph.D.
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                      their false.allegations consisted of (I) the changed meeting dates for the
                 4
                 I



                 2
                      investigation because Dr. Alvarezrefused to respond, attend, and cooperate with
                 3

                 4    District's investigations, (2) the multiple reprimands regarding her poor
                                                     ..-
                 5    performance and refusal to accept her duties and responsibilities, (3) the poor
                 ^
                 o
                      evaluations because of poor performance and refusal to accept her duties and
                 7

                 I    responsibilities, (4) the taking away of her administrative duties because she refused
                 q
                      to give notice she no longer accepted the responsibilities, (5) the change in her
               10
                      teaching schedule which created for her the most difficult teaching schedule because
               11

                      of her misconduct, (6) the refusal to pay her for the additional work she claimed she
il12
z.
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O-o                   performed when she did not, (6) the her making false statements to the campus
oQ
He.
q5 *14     a          police about the so-called threats on her life, (7) the requesting Dr. Alvarezmake
EF
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   6to                true, academic statements on other instructors' evaluations when she refused, (8) the
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<)a
)L.no      =ll        accusation that Dr. Alvarez did not cooperate with the so-called investigations, (9)
Ll- (!-    -
           E
3HE+ts
th6€                  the threat on February 28,2023,that she had to appear at the investigation meeting
               19

               20     because she did not tell the truth about her illness and being on FMLA, (10) the

                      scheduling of other meetings because she was not on FMLA, (11) the instructions
               21

               22
                      from Defendant Hardie that Dr. Alvarcz should not go to the meeting because she
               23

               24     mistakenly believed Dr. Alvar ezwason the FMLA (12) the report dated March 20,

               25
                       2023,that Dr. Alvanpzcancelled the meeting and not Hardie, (13) the pretextual
               26
                      overall willful and malicious omissions of communication, and repeated
               27

                 28   accusations, that District and the Individual Defendants made, have been nothing




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                1
                      but misrepresentations and false statements about Dr. Alvarez. The conduct of these
                2
                      Defendants
                3

                4        30. On March 23,2023,Dr. Alvarez communicated via emailto Hardie, the
                5     Director of Human Resources, and the Interim Director what appeared to be the
                o
                      willful and malicious omissions of her communications, especially regarding her
                7

                8     grievances against Chevalier. She informs District that she has a serious illness as

                      the continuing unlawful conduct leveled against her continues with something
                o


                10
                      different each time. It had come to the point where she was forced to quit her
                11


                12    position as a Union representative because of the repeated retaliation and
tu
z.
                      harassment when she spoke to the Union representatives, sought their
I               13                                                                              assistance
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                      with grievances, and sought their assistance through the mediation process'
C?O        .= 15
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ki
           6
           E 16           31. This conduct on the part of all Defendants, each and every one, was
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a) </>                                                                                    suffer not only
L UtO      = 17       so severe and pervasive that it would have caused Dr. Alvarezto
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O Ltl c.t'5
                18
                                                                                                        caused
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th,tE                 from what her physicians have concluded previously, but it would also have
                19
                                                                                               these
                20    her to continue to suffer from anxiety plus posfffaumatic stress, and

                21
                      Defendants knew that to be the case. Her workload toward the end of
                                                                                                  the spring
                22
                                                                                                  against her in
                       semester was proven to be very hectic, with all of the false allegations
                23

                24     evaluations, reports, irrvestigations, etc'

                25
                           32. Generully,af District, as with most community colleges' summer
                26
                                                                                               the adjunct
                       courses are given to the tenured faculty, full-time professors before
                27
                                                                                                       most
                 28    instructors. In addition to being a full-time instructor, Dr. Alvatez has the



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                     experiencp teaching at other colleges along with her full-time position at District; is
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                 I



                2
                     among those instructors with the most years, 2l years, at District; and the most
                3

                4    academic degrees from a bachelor's degree (California State University, Fullerton),

                5    a master's degree (California Staie University, Fullerton), to a Doctor of Philosophy
                o
                     degree (North Central University). Conversely, despite these facts, Dr. Alvarezhad
                7

                 8   to struggle to get summer courses which are optional. Chevalier ilenied she asked

                     for and was assigned summer courses last summer which, again,was a pretextual
                 o

                10
                     excuse and just false. She did and was actually in reality assigned those summer
                11

                     courses.
z
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f13
Oo                      33. A11 of Dr. Alvarez's grievances both verbally and in writing went nowhere.
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<x         Fi        District and the Individual Defendants denied everything. Mediation was attempted,
EF ?IS
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HE  €ro but nothing was done. District chose not to proceed. Everything has remained
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L gDO.               unresolved.
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lba€ 19                  34. Curcently, Dr. Alvarezhas daily headaches, lasting sometimes for 3 hours,

                20   and she suffers from pressure in her chest, lasting up to 30 minutes' She

                     experiences nausea 3 times a week. Along with physical manifestations,Dr. Alvarez
                21

                22
                     feels sad all the time. She cries almost daily. She feels discouraged about the future.
                23

                     She does not enjoy things in life like before. She lost a big part of herself ----
                                                                                                          her
                24


                     confidence. She is disappointed in herself and criticizes herself. She feels she failed
                25

                26
                     and feels guilty for not providing for her family. She feels she is being punished by
                27

                28   her employer. She has greatdifficulty in making decisions. Dr. Alvarezhas put her



                                   TCOCNT COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ' Ph.D.
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                          I



      .1           life on hofd. "A1[ I want is to save my retirement."
              2
                                        STATEMENT OF A F'EDERAL CLAIM
              3

              4
                                              FIRST CLAIM FOR RELIEF

              5                          (Violation of the Civil Rights Act of 1866
              o
                                             [As Amended,42 U.S.C. $ 1981]
              7

              8
                                                       A.gainst District)

              o
                      35. The allegations and attachments set forth in paragraphs 1 through34,
           10
                   inclusive, are incorporated into this claim for relief by reference as if set forth in
           11


il12               full. CRA claims and their right-to-sue notices are also incorporated into this claim
z.
+13
OE                 for relief along with Dr. Alverz's complaints delivered to the United States
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    I6i
<;                 Department of Education in Washington, D.C.
E.q ?'= 15
EC €ro               36. Section 1981 provides that all persons within the jurisdiction of the United
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                   States must be afforded the same rights and the fulI and equal benefit of all laws and
t    EP =ll
        e
3HE*ts
th.;5              proceedings for the security of persons and property enjoyed by white citizens
           19

           20      regardless of race. Section 1981 covers disbrimination not only in the formation of

                   a contract but also during the duration and life of the contract.
           21

           22
                      37. District retaliated against, harassed, threatened, suspended, "demoted,"
           23

           24      denied Dr. Alvar ezhercivil rights in violation of the laws of the United States

           25
                   because she is an predominately SpanishA{ative American but mischaractetized as a
           26
                   Latina. These Defendants referred to Dr. Alvarez and treated Dr. Alvarez as if she
           27

              28   is of Mexican American/Latina/Hispanic and would have done the same if they




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             1
                 knew she was of Native American descent. No other employee who was similarly
            2
                 situated as Dr. Alvarezbut not a member of her protected class was treated better
            3

            4    and with greater opportunities and peace of mind while in the work environment

             5   than Dr. Alvarez
             A
             o
                       WHEREFORE, Dr. Alvarez requests relief as set forth below against District.
             7

             8                             STATEMENT OF STATE CLAIM
             q


            10
                              (Violation of the California Government Code, 512940, et seq.
            11

                            Failure To Prevent Discrimination in Employment Against District)
i12
z.
+13
O!                  38. The allegations and attachments set forth above in paragraphs 1 through3T,
oq
He
oco ,-14
<g K   inclusive, are incorporated into this claim           for relief by reference as if set forth in
g5 E15
an 6
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;€
   Eto full. CRA claims and their right-to-sue notices are also incorporated into this claim
        =


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        -E
                 for relief along with Dr. Alverz's claim delivered to the United States Department of
3HE€Ig
1b35             Education.
            19

            20      39. Plaintiff has established that discrimination occurred andthatDistrict failed
            21
                 to prevent the discrimination from occurring, whether the discrimination was based
            22
                 race, ethnicity, national origin, color, physical and/or mental disabilities, and
            23

            24   because she engaged in the protected activity of complaining about discrimination

            25
                 verbally or in writing.
            26
                    40. District did not take all reasonable steps to prevent the discrimination from
            27

            28   Occurring and even encouraged the discriminatory acts by Chevalier, Hope, Hardie,



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                         I


             1
                  And Bailey.
             2
                        WHEREFORE, plaintiff demands judgment against defendant District.
             3

             4
                                          STATEMENT OF STATE CLAIM

             5                               rrliri cr.a.rvr non nnr.rnr
             b
                                     (Retaliation Pursuant to FEHA Against District)
             7

             B
                     41. The allegations and attachments set forth above in paragraphs 1 through 40,
             9    inclusive, are incorporated into this claim for relief by reference as if set forth in
            10
                  ful1. CRA claims and their right-to-sue notices are also incorporated into this claim
            11

                  for relief along with Dr. Alvarez's claims delivered to the United States Department
i12
z.
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O-o               of Education.
oq
PE
oF I*14
<;  Fi               42. TheDefendants, Chevalier, Hardy, Hope, and Bailey harassed, retaliated
E5
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   E15
   -E E,^         against, threatened her with suspension, gave her verbal and written reprimands,
k< Elo
6P
f.U ru 9t-
9?                gave her poor evaluations, accused her of not showing up for class or having the
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3HE*ts
thd€              requiredoffice hours, and denied her right the right to return to her job duties aftet a
             19

             20   period of absence due to her disabilities. AII the acts of retaliation were based on

             21
                  pretextual reasons which are easily recognizable by the average, objective juror. She
             22
                  was treated this way because of her complaints and protesting the discrimination
             23

             24   against her based on perceived racial classification discrimination. She was treated

                  this way because she refused at first and was then forced to give an instructor a poor
             25

             26
                  evaluation who did not deserve it. The retaliation and harassment leveled against her
             27

             28   were in violation of the California Fair Employment and Housing Act ("FEHA").



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             1
                   43. Defendants acted with (1) the intent to inflict the injury upon Plaintiff and (2)
             2
                 the realization that the injury of losing her job was substantially certain to result
             3

             4   from Defendants' conduct, warnings, and most especially because of Plaintiff s

             5   actually or perceived race. Plaintiff s emotional distress was and is now severe,
             A
             o
                 substantial, and enduring and was caused by the Defendants' pervasive and unlawful
             7

             8   conduct.
             q
                   44. As a direct and proximate result of Defendants' action against Plaintiff, as
            10
                 alleged above, Plaintiff has suffered special damages, including but not limited to
            11

                 loss of wages, bonuses, deferred compensation, and other employment benefits, in
h12
z.
4
i13
OE               an amount to be proven at the time of trial, more than the minimum jurisdictional
oq
Pe. *14
?5. R            requirements of this Court.
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    E E,^
      6lo           45. Unlike other similarly situated employees not in Plaintiffls protected
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                 classification, Defendants used Plaintiff s perceived raciallethnic origin in order to
        E
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tha€ 19          discriminate against her and give notice of an anticipated suspension and the

            20   continuation of a schedule which was painful and almost impossible to complete.

            21
                   46. As a further direct and proximate result of Defendants' unlawful, pervasive,
            22
                 discrimination against Plaintiff, as aforesaid, Plaintiff has sustained general damages
            23

            24   for severe physical, mental, and emotional injuries, distress, harm and damages in an

                 amount to be proven at the time of trial, more than the minimum jurisdictional
            25

            26
                 requirements of this Court.
            27

            28




                              FEDERAL COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
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                                                #:23

          1
                     WIpREFORE, Plaintiff demands judgment which is more fully stated below
          2
               against District.
          3

          4
                                        STATEMENT OF STATE CLAIM

          5                              roun'i:rr cr.a.rnn ron nnr,rnr
           d
          o
                                   (Harassment Against District, Chevalier, Hardie,
          7

           B
                                          Bailey, Hope Pursuant to FEHA)

           I          47. The allegations and attachments set forth above in paragraphs 1 through
          10
               46, inclusive, are incorporated into this claim for relief by reference as if set forth in
          11

               full. CRD claims and their right-to-sue notices are also incorporated into this claim
i12
z.
f13
O<r            for relief along with Dr. Alvarez's claim delivered to the United States Department
OQ
Ve.
e5 an-14       of Education.
E.9
C'
    E,u
      E E,^           48. Plaintiff was harassed, retaliated against, threatened with suspension,
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v!q     6to
        o
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?2
t EP =tl
     e
               given reprimands, bad evaluations, anticipated suspension, and denied reinstatement
3HE€IA
lbA€           back to her job duties during and after her medical leave. She was treated this way
          19

          20   because of her complaints and protesting the discrimination against her based on her

               perceived race alon gagediscrimination. The retaliation and harassment leveled
          21

          22
               against her were in violation of the California Fair Employment and Housing Act.
          23

          24
               plaintiff was even subjected to harassment based on where she chose to make her

               home because of her minor son's needs. Bailey knowingly encouraged the punitive,
          25

          26
               harassing acts against Plaintiff and did nothing to Chevalier, Hope, or Hardie to
          27

          28




                             FEDERAL COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph'D.
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                          I


              I   prevent these debilitating and racist acts. The conduct was so severe and pervasive
              2
                  that it caused Plaintiff to suffer from anxiety attacks and post-traumatic stress.
              3

              4      49. Defendant acted using the policies and procedures and knowing with (1) the
              A
              U
                  intent to inflict the injury upon Piaintiff and (2) the realization that the injury of
              6
              o
                  losing her job was substantially certain to result from Defendants' conduct, most
              7

              8   especially because of Plaintiff s race and opposing the unlawful conduct. Plaintiffls

              9
                  emotional distress was and is now severe, substantial, and enduring and was actually
             10
                  caused by the Defendant's pervasive and unlawful conduct in violation of both state
             11

                  and federal laws.
d12
z.

=13
O-o
oq                  50. As a direct and proximate result of Defendant's action against Plaintiff, as
He
oF *9 14
<t      6{        alleged above, Plaintiff has suffered special damages, including but not limited to
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      *ro loss of wages, bonuses, deferred compensation, and other employment benefits, in
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                  an amount to be proven at the time of trial, in excess of the minimum jurisdictional
3HE€IA
1bd€              requirements of this Court.
             19

             20     51. Unlike other similarly situated employees, Defendantsused Plaintiff s
             21
                  perceived racelethnic origin to discriminate'against her, subjected her to an
             22
                  anticipatory suspension, and told other employees about Plaintiff s alleged conduct
             23

             24   which caused other employees, who were or were not actual colleagues to have
             25
                  disdain for her and treat her as apariahwithin the work environment.
             26
                     52. As a further direct and proximate result of Defendants' unlawful, pervasive,
             27

             28   discrimination against Plaintiff, as aforesaid, Plaintiff has sustained general damages



                               FEDERAL COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
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                    1
                          for severe physical, mental, and emotional injuries, distress, harm and damages in an
                    2                                                                          jurisdictional
                          amount to be proven at the time of trial, in excess of the minimum


                    4
                          requirements of this Court.

                    A
                                WHEREFORE, Dr. Alvar ez demands a judgment which is more fully stated
                    o
                          below against District.
                    7

                     U
                                                STATEMENT OF FEDERAL CLAIM

                     9                               FIFTH CLAIM FOR RELIEF
                    10
                                           (Protected Expressionsffreedom of Speech Against
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                                                    Chevalier, BaileY, HoPe and Hardie
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O-o                                            Pursuant 42 Section 1983 for Union Rights)
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                                 53. The allegations and attachments set forth above in paragraphs 1 through
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(9E FI                                                                                              as if set forth in
*<  E lo                  52, inclusive, are incorporated into this claim for relief by reference
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                          full. CRA claims and their right-to-sue notices are also incorporated into this claim
Ouler'5 18
=39€                      for relief along with Dr. Alverz's claim delivered to the United States Department
                                                                                                                    of
1bd€
                    19

                    20    Education

                    21
                                 54. Defendants violated Plaintiff s right to freedom of speech when they
                    22
                           sought to and did take punitive actions against her when she publicly
                                                                                                     identified the
                    23

                    24     discrimination at DiStrict leveled against her as a public employee'

                                 WHEREFOR.E, Alvarezseeks a judgment against these individual
                    25

                     to
                           Defendants.
                     27

                     28




                                                                                                     Ph.D.
                                         TEOENIT COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ'
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                        I


            1                            STATEMENT OF A STATE CLAIM
            2
                                             SIXTH CLAIM FOR RELIEF
            3

            4
                        (Violation of the FEHA for Disability Discrimination Against District)

            5       55. The allegations and attachments set forth above in paragraphs 1 through 54,
            o
                 inclusive, are incorporated into this claim for relief by reference as if set forth in
            7

             B
                 fuIl. CRA claims and their right-to-sue notices are also incorporated into this claim
             9   for relief along with Dr. Alverz's claim delivered to the United States Department of
            10
                 Education.
            11

                    56. Defendants discriminated against Plaintiff based on her disabilities.
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Oo               Plaintiff s disabilities can be traced to the conduct of the defendants. No other
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<g      R        employee with recognizeddisabilities like Plaintiff was treated on a continuous
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   P E,^         basis as Plaintiff has been treated.
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?2                      WHEREFORE, Plaintiff requests relief as set forth below against District.
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            19

            20                             SEVENTH CLAIM FOR RELIEF
            21
                            (Violation of the Rehabilitation Act of 7973,$ 504 Against District)
            22
                     57. The allegations and attachments set forth above inpatagraphs 1 through 56'
            23

            24   inclusive, are incorporated into this claim for relief by reference as if set forth in
            25
                 full. CRA claims and their right-to-sue notices are also incorporated into this claim
            26
                 for relief along with Dr. Alverz's claim delivered to the United States Department of
            27

            28   Education.



                                TEOCNN COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
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                I       58. Plaintiff was not accommodated. She suffered a materially adverse
                2
                     employment action when she was forced on a disability leave because of the
                v


                4    retaliatory refusal to accommodate her, takingaway a program and transferred her

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                     to only teaching courses, reprimahded for failing to attend classes and office hours,
                ^
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                     monitored daily, verbal reprimands, etc.
                I

                x       59. The refusal by District to accommodate Plaintiff is an adverse action as

                     required to establish a prima facie case of retaliation under the Rehabilitation Act of
                v

               '10

                     1973, $ 504, 29 U.S.C. A. 5 794 and was in retaliation. But-for Plaintiff s complaints
               11

                     and on-going retaliation of using Plaintiff s disabilities against her, this violation
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                     would not have occurred.
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<x                      60. Plaintiff was not required to exhaust his administrative remedies under
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x<      tto          Section 504 of the Rehabilitation Act of 1973 because the Ninth Circuit has stated
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\L aO     =          that "private plaintiffs suing under section 504 need not first exhaust administrative
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=3.9€re              remedies." Smith v. Barton, gl4F.2d 1330, 1338 (9th Cir. 1990). The question is not
               1q


               20    one of procedure but whether or not the employer violated the Act. 29 U.S.C.

               21
                     $ 7e4(d).
               22
                            WHEREFORE, Plaintiff demands judgment against Defendant District.
               23

               24

               25

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                                  FEDERAL COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph,D.
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              1                          STATEMENT OF A STATE CLAIM
              2
                                            EIGHTH CLAIM FOR RELIEF
              3

              4
                                          (Violation of the California's FEHA in

              5                     Violation of Raee Discrimination Against District)
              o
                     61. The allegations and attachments set forth above in paragraphs 1 through
              7

              I   60, inclusive, are incorporated into this claim for relief by reference as if set forth in

              o
              v
                  fu11. CRA claims and their right-to-sue notices are also incorporated into this claim
             10
                  for relief along with Dr. Alvarez's claim delivered to the United States Department
             11

                  of Education.
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O€                   62. Dr. Alvarez was retaliated against, harassed, threatened, and denied her civil
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<g      R         rights in violation of the laws of the United States and Califomiaiust because she is
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x< 6lo            perceived as a Mexican Ameri can/Latino. No other employee was treated in this
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L ADO   =tl       manner as Plaintiff.
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lbd€                     WHEREFORE, Dr. Alvarez requests relief against District because
             19

             20   Section 1981 provides that all persons within the jurisdiction of the United States

                  must be afforded the same rights and the fuIl and equal benefit of all laws and
             21

             22
                  proceedings for the security of persons and property enjoyed by white citizens
             23

             24   regardless of race. Section 1981 covers discrimination not only in the formation of

             25
                  a contract but also dyring the duration and life of the contract.
             26
                      63. Plaintiff was retaliated against, verbally harassed with constant written
             27

             28   reprimands, threatened with termination, suspended, "demoted," denied his civil




                                FEDEML COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ' Ph.D.
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                                                     #:29
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                 1
                     rights in violation of the laws of the United States because she is perceived as
                2
                     Latina. No other White was treated in this manner as Alvarez. (I) Dr. Alvarezis a
                3

                4    member of a protected class because she is a perceived Latino/Flispanic and non-

                 5   White and is Native American. (Z) Str. was and is qualified and was determined to
                 6
                 o
                     be qualified with an overall Satisfactory on her evaluations. (3) She experienced
                 7

                 8   continuing instances of different adverse employment actions from a series of

                 9   written reprimands that were placed in her personnel file, had work zones and
                10
                     buildings changed to make her work much more difficult than for White employees.
                11

                     (4) These circumstances give rise to the inference of discrimination. But-for Dr.
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O-o                  Alvarczbeing perceived as non-White but Latino/Flispanic, she would not have
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   A                 suffered in this manner. Sections 1981 and 1983 prohibit discrimination based on
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            E,^ race. The reasons offered by the Individual Defendants for their acts of
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\L   V'O             discrimination were not true reasons but were a pretext for discrimination. A
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3H. €IA
5bd€                 reasonable jury could conclude by a preponderance of the evidence that the
                19

                20   defendant undertook the challenged employment action becauSe of plaintiff s race.

                21
                     "DeHorneyv. Bankof Am. Nat'l Trust'& Sav. Ass'n879F.2d45g,467 (9ft Cir.
                22
                     1e8e).
                23

                24            WHEREFORE,,DT. Alvarez requests relief as set forth above and below

                     against District. ,
                25

                26

                27

                28




                                   FEDERAL COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
         Case 5:24-cv-01781-JGB-SHK              Document 1 Filed 08/20/24      Page 30 of 35 Page ID
                                                        #:30

              4
               I
                                        STATEMENT OF A FEDERAL CLAIM
              2
                                                NINTH CLAIM FOR RELIEF
              3

              4
                                            (Violation ofthe Federal 42 U.S.C. $ 1983

              5                              for Protectecl Speech, Equal Protection,
              o
                                                Against the Individual Defendants
              7

              8
                                              Chevalier, Hardie, Bailey, and HoPe)

               9      64. The allegations and attachments set forth above inparagtaphs 1 through
              10
                   63, inclusive, are incorporated into this claim for relief by reference as if set forth in
              11

                   ful|. CRD claims and their right-to-sue notices are also incorporated into this claim
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OE                 for relief along with Dr. Alverz's claim delivered to the United States Department of
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    Eto              65. The right of access to the courts is subsumed under the First Amendment
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         =-        right to petition for redress of grievances. Soranno's GQSco, Inc. v. Morgan, 874
         E

9H!€ta             F.2d l3l0 (9th Cir. 1989). Dr. Alvarezhad the right to file complaints with her
1b6€
              19

              20   supervisors, District, then with the Department of Fair Employment and Housing,

                   and subsequently in this Court because of the violation of her protected
              21


              22
                   constitutional rights.
              23

              24          WHEREFORE, P,laintiff demands judgment against Defendants Chevalier,

              25
                   Harciie., tsaiiey, anri HoPe.
              26

              27

              28




                                FEDEML COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
     Case 5:24-cv-01781-JGB-SHK              Document 1 Filed 08/20/24        Page 31 of 35 Page ID
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             1
                                          STATEMENT OF A FEDERAL CLAIM
            2
                                             TENTH CLAIM FOR RELIEF
            3

            4
                                        (Violation of the Failure To Accommodate,

             5                             Plaintiff and Engage in the Interactive
             A
             o
                                                  Process Against District)
             7

             8      66. The allegations and attachments set forth above in paragraphs 1 through
             q
                 65, inclusive, are incorporated into this claim for relief by reference as if set forth in
            10
                 full. CRD claims and their right-to-sue notices are also incorporated into this claim
            11

                 for relief along with Dr. Alverz's claim delivered to the United States Department of
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ocr              Education.
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<;     F(           6T.Plaintiff was not accommodated. She suffered a materially adverse
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*< 6lo           employment action because of the retaliatory refusal to accommodate her, given
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                 unsatisfactory evaluations, monitored daily, given written and verbal reprimands,
9HE+ta
tha€ 19          etc.

            20      68. The refusal by District to accommodate Plaintiff is an adverse action as
            21
                 required to establi sh a primafaciecase of retaliation under the Rehabilitation Act of
            22
                 1973, g 504, 29 U.S.C.A. $ 794 andwas in retaliation. But-for Plaintiff s complaints
            23

            24   and on-going retaliation of using Plaintiff s disability against her, this violation

            25
                 would not have occurred.
            26
                        69. Plaintiff was not required to exhaust her administrative remedies under
            27

            28




                                 FEDERAL COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
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               1
                   Section 504 of the Rehabilitation Act of 1973 because the Ninth Circuit has stated
               2
                   that "private plaintiffs suing under section 504 need not first exhaust administrative
               ?


               4   remedies." Smith v. Barton, 914-F.2d 1330, 1338 (9th Cir. 1990). The question is not

               5   one of procedure but whether the employer violated the Act. 29 U.S.C.
               ^
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               a   $ 7e4(d).
               I


               B          WHEREFORE, Plaintiff demands judgment against Defendant District.
               o
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                                              DEMAhID FOR JTJRY TRTAL
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                          Plaintiff, JOANN MADRID ALVAREZ,Ph.D., hereby demands a trial by
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o  -cr             jury in this matter.
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5i                                               PRAYER FOR RELIEF
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l+ ao =tl                 1. Issue a permanent injunction instructing District to reinstate Plaintiffin
b 'S I'fi,"
      -

=39€ro
1b6€               the position Plaintiff held before the unlawful discriminatory retaliation and
              19

              20   harassment.

              21
                          2.Issue a declaration of rights declaring that Defendants' retaliatory and
              22
                   harassing conduct as alleged in this complaint violates Plaintiff s civil and
              23

              24   consti tutional rights.

              25
                          3. An award gf monetary damages sufficient fully to compensate Plaintiff for
              26

              27

              28




                                 FEDERAL COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
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                    1
                         all losses she has suffered as a direct and proximate result of District's and its
                    2
                         agents' unequal, discriminatory,bullying, harassing, and retaliatory treatment of her,


                    4    including "comp time."

                                4. An award of moneta ry'du^uges sufficient to fully compensate Dr. Alvarez
                    q



                         for emotional trauma suffered by her, including damages for mental distress,
                     I

                    U,
                         emotional pain, loss of enjoyment of life, and other nonpecuniary losses.
                    q
                                5. An award of monetary damages as mandated by civil rights laws, both
                    10
                         federal and state.
                    11


                    12          6. An award of monetary damages as mandated by the Fair Employment and
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O<r                      Housing Act with a lodestar application.
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<=            IF(               7   . An award of costs, including attorneys' fees pursuant to California Code
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(9E €-                   of Civil procedure, $ 1021.5;42U.S.C., $ 1988 and any other applicable statutes for
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              =-         attorneys'fees.
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th6E                            8. An award of costs, including attorneys' fees, to cover all the costs paid
                    19

                    20   by Plaintiff to prosecute her case.

                    21          g. An award of punitive damages against the Individual Defendants.
                    22
                                 10. An award of damages pursuant to other relevant provisions of law.
                    23

                    24           I 1. An award of such other and fuither relief as the Court considers proper

                    25
                          and just.
                    zo

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                    26




                                                                                                   Ph'D'
                                         TCOENru COMPLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ'
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                                            #:34

              1
                    August 16,2024
              2
                                           LAW OFFICES OF GLORIA DREDD HAIIEY
              3

              4

              5                            By Gloria Dredd Hanq)
                                            J-



              6
                                                 Gloria Dredd Haney
                                                 Attorney for Plaintiff
              7                                  JOAI\N ALVAREZ,Ph.D.
              8

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                         rEOen* COMpLAINT FOR PLAINTIFF JOANN MADRID ALVAREZ, Ph.D.
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                                                 #:35

             I



            2
                                                  VERIIIICATION
            3

            4    I, JOAIIN MADRID ALVAREZ, Ph.D., DECLARE AS FOLLOWS:
            5          I am the Plaintiffin the above-entitled action and make this verification for
            6
                 my federal Complaint filed in the United States District Court for the Central
            7

             I   District of Califomia. I have read the foregoing Complaint and know of its contents.

             I   The same is true of my own knowledge, except as to those matters I believe to be
                                                               i
            10
                 true from my owll observation'
            11

LAW
OFFICES   12           I declare under penalty of perjury under the laws of the United States of
OF GLORIA
DREDD     13
                 America and the State of California that the foregoing is fue and correct.
HANEY
5753 East 14
SantaAna               Executed thedday of 2A24 in San Antonio, Texas.
Canyon      15
Road
Suite 210   16
Anaheim
Hills,      17
Califomia
92807       18

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                              TCOCNII COMPLAINT FOR PLAINTIFF JOANN I'ADRID ALVAREZ' Ph.D.
